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‫ݬ‬GAM 35                       Report and Order Terminating Supervised Release
(Rev. 2/06)                           Prior to Original Expiration Date


                         UNITED STATES DISTRICT COURT
                                                   FOR THE

                                    MIDDLE DISTRICT OF GEORGIA


              UNITED STATES OF AMERICA

                         v.                               Crim. No.    5:15-CR-00037-001 (MTT)

               KENNETH WALLACE



On March 29, 2020, the supervised release period of 36 months commenced in the Middle District
of Georgia. Kenneth Wallace has complied with the rules and regulations of supervised release. His
case meets the criteria for early termination as outlined in the Guide to Judiciary Policy; Volume 8,
Part E (Post-Conviction Supervision); Chapter 3, as approved by the Administrative Office of the
United States Courts.

It is accordingly recommended that Kenneth Wallace be discharged from supervision.

                                                              Respectfully submitted,




                                                              Nico L. Humphrey
                                                              U.S. Probation Officer

                                            ORDER OF COURT
Pursuant to the above report, it is ordered that the supervised releasee be discharged from supervision and that
the proceedings in the case be terminated.

       Dated this       8th        day of             March             , 2022.



                                                            S/ Marc T. Treadwell

                                                            MARC T. TREADWELL
                                                            CHIEF U.S. DISTRICT JUDGE
